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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

  In Re:                                          §
                                                  §           Chapter 11 (Subchapter V)
  LONE STAR RESTAURANT GROUP,                     §
  LLC                                             §           Case No. 24-50423-CAG
                                                  §
                  Debtor.

      CHAPTER 11 SUBCHAPTER V TRUSTEE’S REPORT OF NO DISTRIBUTION

           I, Brad W. Odell, having been appointed trustee of the estate of the above-named Debtor,

  report I never received any funds from the Debtor while serving as trustee. A plan was not

  confirmed, and the case was dismissed on October 8, 2024. Because a plan was not confirmed, I

  have not received any plan payments or any other payments or funds from the Debtor. Therefore,

  I have not distributed any funds of the Debtor. I hereby certify that my administration of the

  estate of the above-named Debtor has been completed. I request that I be discharged from any

  further duties as trustee.

  Dated: March 18, 2025.                               Respectfully submitted,

                                                       By:    /s/ Brad W. Odell
                                                              Brad W. Odell
                                                              Texas Bar No. 24065839

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  Chapter 11 Subchapter V Trustee’s
  Report of No Distribution
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